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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 HAMANN GmbH,

          Plaintiff,                                          Case No.: 1:19-cv-04876

 v.                                                           Judge Robert W. Gettleman

 THE PARTNERSHIPS AND UNINCORPORATED                          Magistrate Judge M. David Weisman
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 125                                     Demupai
                  30                                   autoparts2025
                  97                                    wcq20162-3


DATED: September 22, 2019                                     Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
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                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-04876 Document #: 29 Filed: 09/22/19 Page 2 of 2 PageID #:1849




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 22, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
